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                                United States District Court
                                 Middle District of Florida
                                   Jacksonville Division

 WINN-DIXIE STORES, INC.,

                Plaintiff,

 v.                                                             NOS. 3:15-cv-1143-J-39PDB
                                                                       3:18-mc-14-J-39PDB

 SOUTHEAST MILK, INC., ETC.,

                Defendants.



                                            Order

        Before the Court are seven motions to seal exhibits relating to motions for
 summary judgment, to exclude expert opinions, and to strike a defense. Docs. 262,
 265, 266, 268, 274, 275, 278. An overview of the case and the standards for sealing
 are in earlier filings and not repeated here. See Docs. 34, 74, 254.

        For receipt by October 25, 2019, the plaintiff must provide the clerk’s office
 hardcopy versions of the following exhibits. Upon receipt, the clerk must file the
 exhibits on the public docket, replacing the placeholders with the exhibits. The
 defendants designated the documents as confidential or highly confidential but do not
 oppose filing them on the public docket. Doc. 279.

  Doc. No.      Ex.   Associated Filing
  Doc. 276-23   22    Plaintiff’s Response in Opposition to Defendants’ MSJ
  Doc. 276-24   23    Plaintiff’s Response in Opposition to Defendants’ MSJ
  Doc. 276-25   24    Plaintiff’s Response in Opposition to Defendants’ MSJ
  Doc. 276-26   25    Plaintiff’s Response in Opposition to Defendants’ MSJ
  Doc. 276-27   26    Plaintiff’s Response in Opposition to Defendants’ MSJ
  Doc. 276-32   31    Plaintiff’s Response in Opposition to Defendants’ MSJ
  Doc. 276-37   36    Plaintiff’s Response in Opposition to Defendants’ MSJ
  Doc. 276-41   40    Plaintiff’s Response in Opposition to Defendants’ MSJ
  Doc. 276-42   41    Plaintiff’s Response in Opposition to Defendants’ MSJ
  Doc. 277-9     8    Plaintiff’s Response in Opposition to Defendants’ Motion to Strike or Exclude
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  Doc. 277-12   11    Plaintiff’s Response in Opposition to Defendants’ Motion to Strike or Exclude
  Doc. 277-17   16    Plaintiff’s Response in Opposition to Defendants’ Motion to Strike or Exclude
  Doc. 277-20   19    Plaintiff’s Response in Opposition to Defendants’ Motion to Strike or Exclude
  Doc. 277-21   20    Plaintiff’s Response in Opposition to Defendants’ Motion to Strike or Exclude
  Doc. 277-23   22    Plaintiff’s Response in Opposition to Defendants’ Motion to Strike or Exclude

        For receipt by October 25, 2019, the plaintiff must provide the clerk’s office
 hardcopy versions of the following exhibits to be temporarily placed under seal. The
 Court will direct the clerk to file the exhibits on the public docket unless, by
 November 1, 2019, the defendants file a motion and memorandum of law showing
 the presumption of public access to the exhibits is overcome.

  Doc. No.      Ex.   Associated Filing
  Doc. 263-10    9    Plaintiff’s Motion to Exclude or Limit Opinions of Defendants’ Experts
  Doc. 263-21   20    Plaintiff’s Motion to Exclude or Limit Opinions of Defendants’ Experts

        For receipt by October 25, 2019, the defendants must provide the clerk’s office
 hardcopy versions of the following exhibits in both redacted and unredacted form.
 Upon receipt, the clerk must file the redacted versions on the public docket, replacing
 the placeholders with the exhibits. The clerk must file the unredacted versions under
 seal. For the reasons stated in the motions, Docs. 262, 265, 274, the defendants have
 overcome the presumption of public access to the redacted information.

  Doc. No.      Ex.   Associated Filing
  Doc. 261-21    U    Declaration of Nathan P. Eimer
  Doc. 264-32   31    Defendants’ MSJ on Antitrust Immunity, Liability, and Standard of Review
  Doc. 264-33   32    Defendants’ MSJ on Antitrust Immunity, Liability, and Standard of Review
  Doc. 264-34   33    Defendants’ MSJ on Antitrust Immunity, Liability, and Standard of Review
  Doc. 264-39   38    Defendants’ MSJ on Antitrust Immunity, Liability, and Standard of Review
  Doc. 264-40   39    Defendants’ MSJ on Antitrust Immunity, Liability, and Standard of Review
  Doc. 264-41   40    Defendants’ MSJ on Antitrust Immunity, Liability, and Standard of Review
  Doc. 264-42   41    Defendants’ MSJ on Antitrust Immunity, Liability, and Standard of Review
  Doc. 264-44   43    Defendants’ MSJ on Antitrust Immunity, Liability, and Standard of Review
  Doc. 273-3     2    Defendants’ Response in Opposition to Plaintiff’s Partial MSJ

        For receipt by October 25, 2019, the defendants must provide the clerk’s office
 hardcopy versions of the following exhibits. The clerk must file the exhibits under
 seal. For the reasons stated in the motion, Doc. 265, the defendants have overcome
 the presumption of public access to the redacted information.


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  Doc. No.      Ex.   Associated Filing
  Doc. 264-22   21    Defendants’ MSJ on Antitrust Immunity, Liability,   and Standard of Review
  Doc. 264-23   22    Defendants’ MSJ on Antitrust Immunity, Liability,   and Standard of Review
  Doc. 264-24   23    Defendants’ MSJ on Antitrust Immunity, Liability,   and Standard of Review
  Doc. 264-25   24    Defendants’ MSJ on Antitrust Immunity, Liability,   and Standard of Review
  Doc. 264-26   25    Defendants’ MSJ on Antitrust Immunity, Liability,   and Standard of Review
  Doc. 264-27   26    Defendants’ MSJ on Antitrust Immunity, Liability,   and Standard of Review
  Doc. 264-28   27    Defendants’ MSJ on Antitrust Immunity, Liability,   and Standard of Review
  Doc. 264-43   42    Defendants’ MSJ on Antitrust Immunity, Liability,   and Standard of Review

        For receipt by October 25, 2019, the defendants must provide the clerk’s office
 a hardcopy version of the following exhibit. Upon receipt, the clerk must file the
 exhibit on the public docket, replacing the placeholder with the exhibit. The
 defendants provide no good reason to seal the exhibit, and the exhibit already has
 been filed on the public docket without opposition. See Doc. 256-6.

  Doc. No.      Ex.   Associated Filing
  Doc. 261-8     H    Declaration of Nathan P. Eimer

        For receipt by October 25, 2019, the defendants must provide the clerk’s office
 hardcopy versions of the following deposition transcripts (and any exhibits to the
 transcripts) in their entirety. Upon receipt, the clerk must file them under seal. The
 parts of the deposition transcripts (and any exhibits to the transcripts) pertinent to
 the pending motions and responses are already on the public docket.

  Deposition               Date(s)
  Scott Brown              November 7, 2014
  John Connor              May 13, 2015; 1 February 13, 2018; June 22, 2018
  Calvin Covington         December 6, 2017
  Edward Gallagher         May 6, 2015
  Jerome Kozak             February 5, 2015
  Graham Leary             March 6, 2018
  Andrew Novakovic         March 16, 2018
  Bryan Ricchetti          March 22, 2018
  Richard Stammer          January 30, 2015


        1The   exhibit list for the defendants’ summary-judgment motion and the transcript
 excerpt show May 13, 2015, as the date of Connor’s first deposition. See Doc. 264-1 (exhibit
 list), Doc. 264-6 (excerpt). In the motion to seal, the defendants reference May 6, 2016. Doc.
 266 at 4. This may be an error. But if the defendants also rely on a transcript of a May 6,
 2016, deposition of Connor, they must file under seal the deposition transcript (and any
 exhibits to the transcript) in their entirety.

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  Thomas Wegner            January 22, 2015
  John Wilson              January 8–9, 2015
  Joseph Wright 2          January 12, 2017

        For receipt by October 25, 2019, the plaintiff must provide the clerk’s office a
 hardcopy version of the following deposition transcript (and any exhibits to the
 transcript) in its entirety. The clerk must file the deposition transcript (and any
 exhibits to the transcript) under seal. The parts of the deposition transcript (and any
 exhibits to the transcript) pertinent to the plaintiff’s response in opposition to the
 defendants’ motion to strike or exclude opinions of the plaintiff’s expert are already
 on the public docket.

  Deposition             Date
  Donald Bernos          May 11, 2018



        For the documents or redacted information to be sealed under this order,
 neither side has shown that the documents or redacted information—much of which
 may become obsolete over time—should be sealed indefinitely. The duration of the
 seal is three years from the date of this order absent another order shortening or
 extending the time. A party may move to extend that period before it ends. The
 parties should know that documents or redacted information may be disclosed earlier
 in an order or at the trial.

        Thus, the Court:

        (1)    grants in part Dairy Farmers’ motion to seal, Doc. 262;
        (2)    grants in part the defendants’ motion to seal, Doc. 265;
        (3)    grants in part the defendants’ motions to seal, Docs. 266, 275;
        (4)    denies without prejudice the plaintiff’s motion to seal, Doc. 268;



        2The  defendants do not include Wright’s deposition transcripts in their motions to seal
 but rely on an excerpt of and exhibit from his deposition in their response in opposition to the
 plaintiff’s motion for partial summary judgment. See Doc. 273-1 (defendants’ exhibit list
 referencing excerpts filed by the plaintiff [Doc. 267-36, Doc. 267-84]).

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       (5)   grants in part the defendants’ motion to seal, Doc. 274; and
       (6)   denies the plaintiff’s motion to seal, Doc. 278.

       Ordered in Jacksonville, Florida, on October 21, 2019.




 c:   Counsel of record




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